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                       UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                           CASE NO: 6:20-cr-97-GAP-LRH

    JOEL MICAH GREENBERG


                                          ORDER

          This cause came on for consideration without oral argument on the following

    motion filed herein:

          MOTION: UNOPPOSED MOTION TO FILE UNOPPOSED
                  MOTION TO CONTINUE SENTENCING AND
                  REQUEST FOR A HEARING UNDER SEAL
                  (Doc. 131)

          FILED:       February 4, 2022



          THEREON it is ORDERED that the motion is GRANTED. The
          Clerk is directed to accept for filing UNDER SEAL the motion to
          continue the sentencing hearing now scheduled for March 29, 2022.

          DONE and ORDERED in Orlando, Florida on February 4, 2022.




    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    Counsel for Defendant
